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December 23, 2022

Smith et al. v. Annucci et al.
1:21-CV-01715 (RA) (OTW) [rel: 1:17-CV-07954 (RA) (OTW)]

Dear Judge Wang:

We submit this monthly joint status letter in accordance with this Court’s November 1, 2022
Order. (ECF No. 172.)

Document Productions

Plaintiffs have completed their document production. Defendants continue to produce
documents responsive to Plaintiffs’ First Set of Requests for the Production of Documents,
including Electronically Stored Information (“ESI”). Defendants expect to complete production
by January 11, 2023.

Depositions

Plaintiffs have been awaiting completion of Defendants’ document production in order to
schedule most depositions; however, Plaintiffs have now completed depositions of Defendant
Christian Nunez (Deputy Chief of Investigations, Office of Special Investigations, Sex Crimes
Division) and Jessica McNair (Senior Investigator for the Sex Crimes division of the Office of
Special Investigations) in order to evaluate whether to file a motion seeking sanctions for
Defendants’ failure to preserve evidence relevant to Plaintiff Smith’s sexual assaults. Upon
completion of Defendants’ document production, Plaintiffs will schedule the next round of
depositions. Defendants noticed the deposition of Plaintiff Smith for October 20, 2022, but
Plaintiff Smith was not available. The parties then agreed to schedule the deposition for
December 19, 2022. The deposition was then adjourned at Plaintiffs’ request, and it is now
rescheduled for January 20, 2022. At this time, there are no discovery disputes between the
parties. However, Plaintiffs are still waiting for responses from Defendants regarding several
outstanding document requests outlined in a letter that Plaintiffs sent Defendants on September
26, 2022. The parties anticipate conferring on these outstanding requests in early January.
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                                               Respectfully,



                                               /s/ David M. Stuart
                                               David M. Stuart
                                               Attorney for Plaintiffs


                                               /s/ Andrew Blancato
                                               Assistant Attorney General Andrew Blancato
                                               Attorney for Defendants


The Honorable Ona T. Wang
   United States District Court for the Southern District of New York
      Daniel Patrick Moynihan United States Courthouse
          500 Pearl Street, Room 20D
              New York, NY 10007



VIA CM/ECF




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